Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg+ef3e

AQ 243 (Rev. 2/95} : : .
_MOTION UNDER 28 USC § 2285 Tu VACATE, SET ASINE, OR CORRECT
SENTENCE BY A Pi ON IN FEDERAL CUSTODY

United States District Court 8 oF coloraac

Name of Movant . — Prisoner No. Case Noa.
Sammie } 30425-U13 7 - 01-CR~214-D
Place of Confinement SO —
r wud CV.- 01898
YO Federal Correctio Institution | Memphis ,TN.
UNITED STATES GF AMERICA Vv. SAMMY WOODS

(name under which convicted:

oe et ntirte

MOTION

FILED
t. Name and tecation of court which entered the judgment of conviction under attack see TS DISTRICT CORT
Denver DISTRICT COURT, Denver ,Colorado oo
U.S.Courthouse ,1901 19th St. Denver ,Colorado SFP 22 2006
| 2. Date of judgment of con\vierier April 7th,2004 GREGuAY o. ¢ Alyegeiet:
‘ Aa et AE : MP AG
3. Length of sentence 240 Months,10 years supervised release. LE:

4. Nature of offense involved (all counts} Count one:Gonspiracy to distribute and possess with in-
tent to distribute fifty or more grams of cocaine base ;
Aiding and abetting 21 U.S.C. §§846(a)(1)and(b) (1) (a) (414) 318 U.S.C.§2 and (Cc)
Count Fifty;Use of a communications Facilty to possess with intent to distribute
Cocaine Base;Aiding and Abetting 21 U.S.C.$843(b)and 18 U.S.C.§2,

Count Sixty-two possession with intent to Distribute 1.062

5.. What was your plea? (Check one)

(a} Not guilty
- (b) Guiity Qo
(c) Nolo contenders 0)

If you entered a guilty plea to one count or indictment, and a not guilty plea to anc der count or indictment, give details:

N/A

_ 6 Ifyou pieaded not guitey, what kind of ria! did you have? (Check one)
(a) Jury i
(b} Judge only Tj

7. Did you testify at the cial?
Yes No &

3. Did you appeal from the judgment of conviction?
Yes Ro No ft

om

- Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorade—pg2e3e0——$————

A024) (Rev 2/95)

9. If you did appeal, answer the foltcwing:

(a) Nameofcout U.S.Court 6£ Appéals for the 10th Circuit

Th eal: Be ae td

{b) Result Conviction affirmed
(c) Date ofresult October 23, 2005
10. Otherthana direct appeal fom the judgment of conviction and sentence, have you previously fited sav sentiozs. application :.

or motions with respect io this judgment in any federat court?
Yes O No (&

11. Tf your answer to 10 was “yes,” give the following information: N/A
(a) (1) Nameofcsurr N/A

(2) Nature of proceeding N/A

(3} Grounds raised N/A

(4) Did you receive an evide ‘tary hearing on your petition, application or motion?
. Ye No EK

(5) Result N/A
(6) Date of result N/A

(>) As to acy second petition, ap; lication or motion give the same information:

(L) Name cf court US Court of Appeals 10th Circuit

(2) Name of proceeding Petition for rehearing Enbanc

(3) Grounds raised ineffective asst.of Counsel

fail to chaklenge the unconstitutionality of sentence

under U.S.v.Booker,Counsel took absolutely no action

on appeal, the petitioner was completely deprived of f
counsel and deserves a new triali. |

a - — od

| OS FAC —PE-S-6F 30
- Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC C

‘A023 (Rev 2/95) . a \

- MOTION UNDER #8-USC § 2255 TO VACATE, SET ASIDE, OR CORRECT
: SENTENCE BY A PERSON IN FEDERAL CUSTODY

(if movant has a sentence to be served in the future under a federal judgment which he or she wis bes tD
attack, the movant should file amotion in the federal court which entered the judgment.)

_" MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A PERSON IN. FEDERAL CUSTODY

Explanation and lnstructions-Read Carefully

(1) This motion must be tegibly handwritten or typewritten, and signed by the movant under Deaalty of pertury. Any false
Statement ofa materia! fact may serve as the basis for Prosecution and conviction for Berury, Ali questions must be JasWered
-conctsely in the proper Space on fhe fonn, :

{2} Additional pages are nor permitted except with respect to the facts which you rely upon to support your

grounds for relies.
No citation of authorities need be furnished. If briefs or arguments are submitted, they should be gy

Di itted in the form ofa
separate memorandum.

(3) Upon receipt, your mation will be filed if it is in proper order. No tee j3 required with this motica.

‘tequired by the court, Setting forth aagtion establishing your inability te pay the costs. If you wish to Proceed 21 forma
pauperis, you must have an authorized

securities on deposit to your credit ix any account in the institution.

hatlenge judgments entered by
different judges or divisions either in the same district of in different districts, you must fite Separate motions as to each such

(6) Your attention is directed to the fact that you must include all grounds for relief and all facts support'ng such grouc’s far relief
in the motion you file seeking relief from any judgment of conviction.

(7) Whea the motion is fully completed, the original and at least two copies must be mails to ag “tere of the United States
District Court whose address is &

(8) Motions whick do not conform te these instructions will be returnect with a Hotation as to the deticiency.

£39—___——
- - Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg 46

-

- AG243 (Rev. 2/9355 Lo mo :
MOTION UNDER 28 USC § 2233 TO VACATE, SET ASIDE, OR CORRECT
SENTENCE BY A PERSON IN FEDERAL CUSTODY

_United States District Court pPiirct oe Cororado
Name of Movant , } Prisoner No. ' {Case Na.
] sammie Woods 30425-9013 _ O1-CR=2I4-D
Place of Confinement . .
Federal Correctional Institution ' “Memphis, TN.
UNITED STATES OF AMERICA VY. SAMMY WOODS -
{rage under which convicted: a
MOTION

1, Name and location of court which entered the judgment of conviction under attack
Denver DISTRICT COURT, Denver,Colorado
U.S.Courthouse,1901 19th St.Denver,Colorado

] 2. Dare of judgment of conviction m oS A pC ( et 2 Oo
3. Length of sentence 240 Months,10 years supervised release.

4. Nature of offense involved (all counts) Count one:Conspiracy to distribute and possess
with intent to distribute Fifty or more grams of cocaine base,

_ Aiding and abetting 21 U-S.C.§$846(a)(1)and(b)(1)(a) (444) 518 U.S.C.
§ 2 and (c)
COunt Fifty;Use of a communications Facili. i
to Distribute Cocaine Base;Aiding and Abetting 21 U.S.C.§843(b)and

18U.S.C0.§2. Count Sixty-Two possession with intent to Distribute1.062
5. What was your plea? (Check one)

(a) Not guilty - Ro
= (b) Guilty o
(c) Nolo contendere - 0

If you entered a guilty ples to one court or indictment, and a aot guilty plea to aneder count or indictment, give details:
N/A

on

If you pieaded not guilty, what kind of friai did you have? (Check one)

(a) Jury LX]
(6) Judgeonly C)

"7. Did you testify at the tial?
Yes No &

8. Did you appeal from the judgment of conviction?

Yes fd No ©

- Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg 5 of 30

‘AO 243 (Rev, 2/95)

(4) Did you receive an evide uiary hearing on yavg petition, application or mation?
Yes (] No &

(5) Resulk: N/A

(6) Date ofresuit N/A

(¢) Did you appeal, te an appellat> federal count having jurisdiction, the result of action taken on any steten. application

or motion?
(1) First petition, etc. _ Ye TH Neo ©
(2) Second petition, ete. Yes C] No %}

(¢) Ifyou did not appeal trom the adverse action an any petition, application or motion, explain briefly ate vou dé not

~I did not feel that I had any issues that had merit at that
time.

12. State concisely every ground on which you claim that you are being held in violatioa of the constitution, laws or treaties of

the United States. Summarize brie fly the facts supporting each ground. If necessary, you may attach pages stating additional
grounds and facts supporting same. , ,

il

CAUTION: [fyou fail to set forth
date, : ,

For your information, the following is a list of the mast frequently raised grounds for relief in these proceedings. Each
‘Statement preceded by a letter constitutes a separate ground for possible relief. You may raise any grounds which you have
other than those listed. However, you should raise in this motion all available grounds {relating to this conviction) on which

you based your allegations that yau are being hetd in custody unlawfully.
Da not check any of these listed grounds. If you select one or more of these grounds for relief, you must allege facts.
The motion will be returned to you if you merely chack (a} through (j) or any one of these grounds,

(a) Conviction obtained by plea of guilty which was unlawfully induced or not made voluntarily or with understanding of
the nature of the charge and the consequences af the plea. ,
(b) Conviction obtained by use of coerced confession.

4)

et

A024) (Rev, 2/95)

- Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg 6 of 30

{c) Conviction obtained by use of evidence gained parsuant to an unconstitutional search and seizure,
(d) Conviction obtained by use of evidence obtained plussnant-to an urilawful arrest.
(¢) Conviction obtained by 2 violation of the privilege against self-incrimination.

() Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant sviseece
favorable to the defendant. : Se ,

(g) Conviction obtained by 4 viviation of the pratecker against double jeopardy.

(h) Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and iparsiez
(t) Denial of effective assisianc: of counsel. to :

(j) Denial of right of appeal.

7 ! 0
A. Groundore: Petitioner,was denied .effective asst.Counsel failed to
raise Booker issue on Direct Appeal,see Appeal opinion.Petitioner
was denied effective asst.of gounsel failed to investigate the laws/
facts,and object to the use gf fictitious patty plaintiffs/Defendants

require © L : move ismissa arges.
Sipportizg FACTS (state brig/ly without citing cases or law): 8

See attachments Ground one incorporated herein by

reference

B.Ground two:Petitioner,was denied effective asst.of Counsel who

' failed to raise a defense of lack of subject matter/Territorial
jurisdiction.Misapplication of Statutory law,no factual basis for
the Courts jurisdiction on Record, Fraudulent concealment and

_ Misrepresentation of material facts regarding the courts jurisdic-

~\ tion, Failed to raise a defense in the interest of the real Parties

.. at intérest.

Supporting FACTS (state briefly without citing cases or byw):

See attachment which is incorporated by reference
GROUND (2) and affidavit incorporated herein by refence

C.Ground three: Petitioner,was denied effective asst.of Counsel
who fail to raise a defense,challenge the respondents lact of -

of standing to institute a cause of action under Article III.
Petitioner,was denied effective asst.of counsel who fail to ob-

ject to Misapplication of statutory law and file proper Motion
*; to dismiss charges.

Supporting FACTS (state briefly without citing cases or law):

See attachments ground (3) and affidavit incorporated
herein by reference.

(5)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 7 of 30

AQ253.. (Rev. 2/95}

D. Ground four’ The goverment lacked subject-matter jurisdiction to
charge petitioner for the possession of a controlled
substance,Schedule IT

Supporting FACT & (state briefly without citing cases or law):
Whether,cocaine, "crack cocaine” has ever been scheduled?.

See attachment incorporated herein by refererice

13. Tfanyofthe grounds listed ix 124, 8. C, and D were not previeust stil i
y 13, C, y préseiited, state briefly what “
Presented, and give vour reasons for not presenting them: Ywtat grounds were not so

14. Do you have any petition or appeal now pending in any court as ta the judges under attack?
Yes 0 No &

13. Give the name and address. if knows joy Be: : ;
piven # and audress, ifksown, of each attorney who represented you im the following stages of the judgment attacked

we

(a) At prelimmar hearmng Kerry S.Hada
(b) At arraignmentandplea Kerry S.Hada
«@ Amal Ronald Gainor

( Atsemencze Ronald Gainor

(8)
AG 243 (Rev. 2/94)

. Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg 8 of 30

ems

(e) Onappeal Ronald Gainor
(Af) In any post-conviction proceeding N/A
(g) On appeal from. any adverse niling in 3 post-conviction proceeding

6. Were you sentenced on more than one count af an iadicoment
approximately the same time?

Yes [8 No [3

i, Or On More than one indictment, in the same court and a:

17, Do you have any future sentence to serve after yall complete the sentence imposed by the judgment uncer anaek’
Yes No &
(a) If so, give name and iocation of court which imposed sentence to be served in the future:

N/A

(b), Give datz and length of the above sentence:

N/A

“() Have you filed, or do you coniemp
served in the funure?

~ Yes @ Ne Q

fate filing, any petition attacking the judgment which unpesed the sentence to be

Wherefore, movant prays that the Court grant him all relief te which he may be entitled ia tis proceeding.

Signature of Atiomey Cif any}

I declare under penalty of pesjury that the foregoing is true and correct. Executed on

AL 1L200¢

ate

Ute
Signature of Movant

With beeobvatier f kyl f-
“06 (-Qo7 (- 1036

. &7)

y

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 9 of 30

GROUND ONE
The U. 5S. OF AMERICA acted in clear absence of jurisdiction without
proper foundation for its charges, In its use of fictitious party

plaintiff /Defendants in the records,files,pleadings,complaint,

indictment,The all capital letters used by the U.S.Attorneys Off-
ice which states my name as(SAMMY WOODS) ,Debtor,defendant corporate
franchise,and now Plaintiff,as the accused is not “my lawful name on
any document,The U.S.OF AMERICA misrepresented the plaintiff/petit-
ioner and used fraud in which it claims that the petitioner is a
corporate franchise who are or may be associated with a Federal com-
plaint indictment against my body/person/property by the Municipal
Corporation U.S.OF AMERICA, that I deny exists,as the U.S. claims

of jurisdiction is not established on record with proper foundation,

My name is (Sammie Woods).I'm a living breathing person,The lawfully

party aggrieved declares that I am not a Corporate Franchise,that I
have not knowingly,voluntarily,and intentionally made an election to
be treated as a Gorporate FrancHisee nor waive any of my common law

remedys/defenses.

Nor to become dispossessed of My liberty at common law and in the
guaranteed Republican known as the U.S. of America.

No court has a criminal jurisdiction or other commercial maritime
lien or attachment over my body/property/person and the Respondent
is and was not entitled to change my legal status and standing be-
fore the Court,upon any inference not a material fact of record,

based on an erroneous conclusion of law.

THE U.S. OF AMERICA WAS AND IS A
FICTITIOUS PARTY PLAINTIFF,REAL PARTY INTEREST
NOT SHOWN

The U.S.and,The U.S.OF AMERICA are both asset owning Corpotations
registered to Federal Tax Numbers# 344500-0049-0 (Exempt),and #¢
024270-0 (exempt),under the authority of 28 USC § 3002(15),Defined
as an agency of the U.S.See notes following 18 USC§ 1001,18 USc §
6,1994 ed. Derived from 18 USC § 80 1940ed.The entity is designated
as a MUNICIPAL FEDERAL | CORPORATION.

(1)
Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 10 of 30

GROUND ONE CONT...
The U.S.OF AMERICA and the U.S. are territorial Corporations with
only territorial powers,has no Constitutional powers and did not
exist when the Constitutional of 1787 A.D. was. framed drafted and
ratified it has no Constitutional powers to act as a party to the
criminal prosecution within the territorial boundaries of the
Several States.
The Government of the Union of the Republic states,The UNINCORPORATED
United States,delegated certain powers under the Constitution of 1787
“A.D.,cannot delegate its powers to a CORPORATION.
The U.S.Of AMERICA responsible for civil and criminal initiatives
acting through the entity U.S.DISTRICT COURT is a government foreign
to the United States and has no Constitutional power.Where the U.S.

has two capacties,there are two Distinct Political alliances or
coalitions named the U.S.of America.

The original U.S.of America,spelled with(Capital First Letters) ,was
comprised of the 13 original States joined to fight The America War
of Independence and was established in Article I of the Articles of
Confederation (1777),This same U.s.Of America appears in the preamble
of the Constitution of the United States,WE THE PEOPLE OF THE United
States for the U.S.of America.

The Constitution of the U.S. enumerates certain powers in the Govern-
mental entity known and designated as the U.s.(NOT THE U.S.OF AMERICA).
The U.S.OF AMERICA currently responsible for Federal civil and crim-
inal initiatives is not the original,It is a POLITICAL COALITION,
compact or alliance of insular possessions of the FEDERAL CORPORATE
U.S. subject to the sovereignty of the U.S.via Congress plenary(near
absolute) in territory belonging to the U:s.under the authority of
Article IV.Sec.3,cl.2 of the Constitution,ect,by various sections of
the U.S. Codes,delegations of authorities,treaties,ect,We know the
substitute U.S.Of AMERICA is territorial,it is a jurisdiction

foreign to the United States.
No where is there Constitutional or statutory authority for the U.S.
OF AMERICA to serve as principal of interest in a criminal cause of
action in the Union of several States party to the constitution.
THE U.S.DISTRICT COURT ARE NOT COURTS OF
GENERAL .JURISDICTION AND HAVE NO JURISDICTION FXCEPT

AS PRESCRIBED BY CONGRESS

(2)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 11 of 30

GROUND ONE CONTINUE...
The acts of Congress which established the U.S.DISTRICT COURTS,

did not vest these Article I,Territorial legislative tribunals
with any criminal jurisdiction who's creation and composition
was June 25,1948 under the authority of Title 28 USC §132,and
the jurisdiction thereof is defined and limited by act of Con-
gress 28 USC §$,1331 which lists: Civil, Bankruptcy, Patent ,Admir~
alty / Maritime jurisdiction,but not criminal.

THE COURTS OF APPROPRIATE JURISDICTION FOR VIOLATIONS
OF PROVISIONS OF TITLE 18 U.S.C. (CRIMINAL CODES) IS DE-
SIGNATED AT 18 USC §3231, WHICH STATES:
The District Courts of the United States ,SHALL HAVE ORIGINAL
JURISDICTION EXCLUSIVE OF THE Courts of the States of all
offenses against the laws of the United States.

There's a distinct and definite difference between a (U.S.
DISTRICT COURT) and a (district Court of The United States),
The words district Court of the United States commonly de-
scribes Constitutional Court created under Article III of the
Constitution and not the legislative Courts of the territories.
Though the judicial system as set up in a territory of the U.S.
is a part of the Federal jurisdiction,The (COURTS of The U.S.),
when used in a Federal statue,is generally construed as not re-
ferring to territorial Courts.This issue is not a new issue, being
well settled long ago.
Territorial courts are as Legislative Courts distinguish from
Constitutional Courts.As Stated by the U.S.Supreme Court:The
U.S,DISTRICT COURT is not a true U.S. Court established under
Article III to administer the raw judicial power of the U.S.
therein conveyed; it is created by virtue of the Congressional
faculty, Granted under Article IV.,§3 of that instrument of mak-
ing all needful rules and regulations respective of territory be-
longing to the U.S.
Lawful Federal Legislative (Criminal)Jurisdiction is confined to
the plain dicta of Article I.Section 8,Clause 17 of the Federal
Constitution and, Title 18 U.S.C. 5,7, For the federal government
(FBI- DEA~ BATFO) to reach beyond its enumerated parameters into the
Legislative jurisdiction of a Sovereign State .

(3)
Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg+t2e6efeo—————

‘GROUND OWE CONT...

The Prior Statue,18 usc § 561 Does Not Give the court

Jurisdiction

A district court must obtain its jurisdiction exclusively from the

Constitution and statutes of the United States.Without a valid
Statue,it has no jurisdiction except to dismiss the cause.

18 U.S.C. § 3231 is unconstitutional on its face because it is

part of the unconstitutional and fraudulent enactment of H-R.3190
and Public Law 80-772. 18 U.S.C. § 546,the prior 1940 enactment,de-

fined different crimes and carried different penalty provisions,
gave the court jurisdiction to prosecute crimes,;but jurisdiction
only over the crimes in that title.Defendant was not indicted
based on any of the crimes in that title,and therefore, Petitioner
indictment is null and void.

Without a valid indictment,no jurisdiction exists to continue
Defendant's illegal incarceration,Null Crimen,Sine Lege,Wulla poeua,
Sine Lege. NO LAW, NO CRIME.

As in the Clark case,and its Supreme Court precedents,to meet Due
process,Public Law 80-772 and 18 U.S.C.§ 3231 would have had to
give adequate public notice on their faces of their own invalidity
and the public would have to hawe been put on further notice that
the officially announced statutory repeal or supercession of the
old statues was legally effective.The court obtained its jurisdi-
ction to prosecute crimes pursuant to 16 U.S.C. § 3231.

Without proper notice of the invalidity of the statue,defendant's
indictment,and civil,and criminal conviction can not be upheld and
the court has only one choice,to order dismissal of defendant! s
indictment and conviction ab initio. ,

Petitioner's counsel had a Sixth Amendment right to investigate
the facts and law related to the court's jurisdiction,and since
jurisdiction is a treshold matter,the failure of counsel to inwest-
igate the facts and law and to know the court's jurisdiction
renders him ineffective as a matter of law.

Title 18 (Public Law 80-772) is a nullity,woid from its inception,

asa matter of law.

(4)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 13 of 30

GROUND ONE CONT...
THERE ARE ONLY TWO CRIMINAL JURISDICTIONS
COMMON LAW/ ADMIRALTY

If the Court was-under a common law jurisdiction,which is doubtful,
Then an injured party was required to be produced as evidence,
without an injured party there. would have been no cause of action.
See: What is marked exhibit # 1 attached to the last page of this
Motion,Which clearly shows that by the(Presentence investigation/
report),prepared by DEE CLARK,That there was NO injured party to
the government case.(See,Presentence investigation report page 10,
paragraph 42).

Admiralty/Maritime jurisdiction,as the Yellow Fringe Flag indicates.

Production of the original valid International Contract with my

signature on it,if such a contract exist.

The validity of the International Contract must have been settled
before trial on the issues had begun.The respondents(U.S.ATTORNEYS
OFFIGE)proceeded in Admiralty and Maritime which is civil,Statutory

with criminal penalties,in Rem.

The respondents (U.S.ATTORNEYS OFFICE) subsumed,concealed subverted
the true and proper nature of the judicial proceedings which were
civil and blindsided the real partys in interest to said proceedings
and without ever informing the petitioner of the true nature of the
cause of action against him.

The respondents(U.S.ATTORNEYS OFFICE) proceeded in the course of
the civil law and failed to produce all documents held in due course
that created a legal disability.

Attorney for plaintiff,in cooperation with the U.S.Attorneys Office

failed to inform the petitioner of the true nature of the judicial
proceedings,and the identities of the real parties in interest.
Attorney for petitioner,failed to inform petitioner of the true
nature of the proceedings which were civil/statutory/with criminal
penalties which the respondents had no right to conceal the basis
of its criminal penalty proceedings, which were based on a civil
complaint filed for an alleged breach of contract/commercial agree~
ment,That was never disclosed to the petitioner, respondents was
duty bound to,but failed to do so,to produce the instrument that
created the legal liability as a basis for its charges, and allow
‘the petitioner and opportunity to contest it.

(5)
Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 14 of 30

- GROUND ONE CONT...
Petitioner, (alleged) criminal acts,did not interpose any of the above
and,was committed within the boundaries of the Sovereign State,be-
cause the federal government lacked lawful legislative jurisdiction
to secure a warrant to search,arrest,indict and sentence petitioner.
The U.S.DISTRICT COURT operate exclusively under special maritime
and territorial jurisdiction of the U.S.
The admiralty civil law rules,which are contrary to the common law.
Indigenous to the seceral States and have only admiralty or vice
admiralty capacities and in effect,they accommodate(PRIVATE INTER-
NATIONAL LAW.)
The fine line determining (Applicability) of the Article III Sec.
2,c1.1 arising under clause is the real party in interest.As long
as (AGENCY) of the U.S.Federal Government is carrying out an Art.I
delegated power within the States,Courts of the U.S. have jurisdic-
tion by way of the arising under clause,whether as the complainting
party or defendant.
However, if an agent or agency of the U.S. operates under Congress's
Article IV.Legislative jurisdiction,which is exclusive to the geo-
graphical U.S. or to the U.S.Federal government,which is a FOREIGN
CORPORATION with respect to the several States,The arising under
clause does not apply because the act is perpetrated under the
COLOR OF LAW. .
While admiralty jurisdiction is conveyed in Article IIT Sec.2,cl.

1, it is distinct from aiutthority pertaining to law and equity and,
therefore,does not fall under the authority of the (arising under
clause). : .

The U.S.OF AMERICA cannot collusively join partys to its claim/
indictment (Who are mere fictions,improperly to manufacture and to
invoke the jurisdiction of the U.S.DISTRICT COURT).

The U.S.OF AMERICA must do more than invoke 18 USC Sec.3231,which
grants jurisdiction to the District Courts of the U.S.and not the
U.S.DISTRICT COURT,Every action brought in the U.S.DISTRICT COURT
must be brought in the names of the real parties in interest to the
proceedings.THE U.S. DID NOT STATE A CLAIM UPON WHICH RELIEF SHOULD
HAVE BEEN GRANTED,AND WAS THUS,NOT REAL PARTY IN INTEREST.

(6)
Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 15 of 30

GROUND ONE CONT...
The accuser,the U.S.Attorney's Office has made an unproven conclus-
ion of law based on a erroneous presumption that caused to be issued
the bill of pains and penalty against the peace and dignity of the
undersigned party aggrieved,without any basis in fact and or law.
The party aggrieved has made a contrary conclusion of law to that
of the accuser doing business as a State of Incorporation.
The raw judicial power at common law requires a Corpus Delecti,or
real damaged party who has sworn out a complaint against him and-
provided the requistite indemnity bond,which its lacking in the
accusatory instrument and in the record as brought by the accuser

doing business as a fictitious party plaintiff in corporate capacity,

and in a corporate venue,motivated by invidious economic animus, pre-
judicial to the party aggrieved. .

_ INEFFECTIVE ASST.OF COUNSEL
Counsel who aided and abetted with the(U.S.AMERICA)and Prosecutor,
to conceal its identity as a private CORPORATION with the use of a

private law against a State Citizen as well as the true nature of

the judicial proceedings and real parties in interest,failing to
investigate and challenge the jurisdiction of the Court and raise
meritorious available defenses in petitioner behalf,falling below

an objective standard of reasonableness.If not for Counsels errors
the proceedings would have been different.

Due to the commercial nature of the proceedings, petitioner had a
common law rights/remedys that Counsel could have invoked,without
prejudice 1-207, 1-103.6, U.c.C.

Counsel waived all petitioner available potential meritorious defen-
ses. Causing the petitioner to default-on his claim, subject matter/
territorial jurisdiction may be raised at any time and may not be
conferred on a Court by waiver ,stipulation,estoppel. Counsel had a
duty to challenge the jurisdiction of the Court and inform the
petitioner of the true nature of the proceedings as well as invest-
igate the laws in relation to the facts and raise a defense,and
‘require the respondents to produce the instrument that created the.
liability ,and all documents that

(7)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 16 of 30

GROUND ONE CONT...
created legal disability,both U.S.OF AMERICA and trial counsel
had a duty to inform the petitioner of his rights and remedys,
and require the respondents to show an extraterritorial appli-
cation of its non-positive laws/Codes and a Constitutional foun-
dation supporting same.
It was counsel's duty to inquire the respondents to comply with
Article I,sec.8,cl.17 and Title 40 USC Sec.255,showing ownership
of propérty with the State cessation of jurisdiction over acquired
lands before litigating its claim in the U.S.DISTRICT COURT.The
Court acted in clear absence of jurisdiction,Thée judgement was
and is void. ot
Petitioner,argues that Counsel was ineffective based on conflict
of interest,See Court opinion from Direct Appeal.Counsel was in-
effective in failing to properly investigate this case and the
Eraudulent misrepresentation of U.S.Prosecutor. and the U.S.
Attorneys Office.
Public Law 80-772 was never enacted into positive law,all statues
attached thereto,including 18 USC § 3231,were never enacted into
positive law.Petitioner,argues that since 18 USC§3231 gave the
federal courts jurisdiction over his prosecution,without that.jur-
isdiction,the government have no way to cmvict me of a crime,even
under a statue that was enacted later,such as the 197/70 drug statutes.

The federal judiciary,and the Sentencing Court,which is présumed
to know the law,knew or should have known the law,knew or should
have known of the invalidity of the statutes but allowed my pro-
secution and sentencing anyway.

Counsel was aware of the history of Public Law 80-772 but offered
no legal advice or proper legal defense or remedies in petitioner
behalf. ee
Public law 80-772(the codification of Title 18)was introduced in
the first session,but did not pass the Senate,and the bill died
during the first session when Congress adjourned sine die twice
in that session. The bill was not introduced in the House in the
Second Session as a new bill,or even as the old bill,but myster~—
iously showed up in the Senate near the end of the Second Session.
The Senate then amended the bill,and the’ House voted on the adm-
endments but never voted on the amended bill.Therefore,a different

(8)
Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg 17 of 30

GROUND ONE CONT...
bill passed the House(in the first Session) than passed the Senate
(in the second Session),in violation of Article I,Section 7,Clause
2,the Presentment Clause of the Constitution.
Other actions by Congress also prove to be invalid.
Included in the "passage" of Public law 80-772 was the passage of
numerous title 18 crimes,including conspiracy,aiding and abetting,
and bank fraud. Also,the Statue which is the only Statue which
gives a federal court jurisdiction to prosecute a crime,i8 USC §
3231,was part of the enactment.The in toto rule for legislation
requires that when any part of a bill is dead,then the only possible
jurisdiction for the Court to prosecute any crimes must revert back
to the 1940 statue,18 USC § 546.
However,That statue only allows prosecution of crimes defined in
that statue,Petitioner was given no fair warning related to that
Statue,indictment and conviction are void.Furthermore, that statue
requires different penalty provisions, including up to 10 days a
month good time and parole after 1/3 of a sentence.
The fact that the enactment was invalid means that the Court never
had jurisdiction to prosecute petitioner and that the indictment
and conviction are null and void from their inception.No plea a-
greement nor jury verdict is valid.
There is a two{2) part test to determine existence of traditional

admiralty jurisdiction:(1) it must be established, and (2) it must

be proven.
There is a four (4) part test to determine traditional maritime
jurisdiction:(1) What are the functions and rule of the parties(the
term of the contract), (2)What are the types of vehicles and instr-
umentality's used (reward contract or agreement), (3) What is the
causation (breach of warranty to pay~by the fraudulent debtor) , and
(4) Can the traditional concepts of rule of admiralty law be
applied (i.e.,who is the debtor and creditor).
the government has not proven any of the four(4) that has been

established on record.

@9
Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 18 of 30

GROUND ONE CONT... .
The U.S. of America acting as the U.S.DISTRICT COURT,U.S.District
court has not demonstrated a proper foundation prior to bringing
its charges,as stated in grounds 1. U.S.which is incorporated here-
in by reference 1, U.S. of America has not shown where its juris-
diction is derived from,and to attempt to manufacture jurisdiction
by invoking Sec.3231 of the U.S.C's,which grants jurisdiction to
the U.S. not the United states district court which is an Article
I, Legislative tribunal. Oe

The U.S. of America fraudulently concealed and misrepresented

material facts that it is an Artical I,Legislative tribunal operation

exclusively in an admiralty maritime capacity implementing Private

International Laws,with only civil jurisdiction.

Statutory with criminal penalties,the U.S.of America further blind-
sided,and concealed the true nature of the civil judicial proceed-

ings,concealed the identities of the. real. parties. in. interest,it~-

self and undisclose principles.

The U.S.further fraudulently concealed and fail to produce documents

held in due course that created a legal disabilty in the course of

the civil proceedings,including contracts and commercial agreements

entered into with the States of the Union and its foreign principals,
fraudulently concealed and fail to inform petitioner of his rights/

remedies and all terms of the agreements made.Which is a clear vio-

lation of petitioner due process rights.

Government officials had a duty to inform petitioner of his rights/
remedies:As also the Residing Judge over the case.Government offi-
cials had a responsibility to tell petitioner of any pending respon-
sibility to tell petitioner of all the terms of the agreements......
U.C.C.3-305.2(c).Petitioner had a right to be told who the real
principle is U.C.C.3-403.42

The U.S. manufactuing of its Jurisdiction invoking 3231,is a usurp-

ation of power.The U.s. had a duty to provide petitioner with rea-

sonable identification of the person making the charges/presentment
and evidence of his authority to make it if made for another, and
exhibition of the instrument that created the legal liability the
U.S. of America charges were baseless and unfounded leaving the
Court without Subject matter/Territorial jurisdiction.

(11)
Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg 19 of 30

GROUND ONE ...CONT.

The U.S. knowingly with knowledge of the above falsity, intended
to deceive petitioner and Court and their justifiable reliance
‘thereon.

(12)
Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 20 of 30

GROUND TWO

PETITIONER WAS DENIED EFFECTIVE ASST.OF TRIAL COUNSEL,WHO FAILED
TO RAISE A DEFENSE OF LACK OF SUBJECT MATTER/TERRITORIAL JURIS-
DICTION AND MISAPPLICATION OF STATUTORY LAW,NO FACTUAL BASIS EX-
IST ON THE RECORD FOR THE COURTS JURISDICTION

As a general rule the power of the U.S. to criminally prosecute
is for the most part,confined to offenses committed within its
jurisdiction in the absence of treaties.This is born out simply
by examination of Title 18 USC Sec.5, Which defines the term
U.S. in clear jurisdictional term,further,Section (7) of the
criminal Code contains the fullest statutory definition of.

the jurisdiction of the U.S. The (District Courts of the U.S.
have jurisdiction of offenses occurring within the U.S. pur-
suant to Title 18 USC Section 3231 (Not the U.S.DISTRICT COURTS).
The Boundaries of Lands belonging to any of the 50 States and
Title 40 USC section 255, Artical I sec,8, cl.17, Specifies the
legal conditions that must be fulfilled for the Government to
have exclusive or shared jurisdiction within the area(s) of

lands belonging to the States party to the Constitution of 1787
A.D. therefore,in Federal criminal prosecutions involving juris-
dictional type crimes the Government must prove the existence of
Federal jurisdiction by showing that it has (Ownership of proper-
ty the Land where the offenses were committed)(And cessation of
of jurisdiction over acquired lands from the State Legislature),
No such showing was ever made,Where the Federal Government,has

not filed an acceptance of jurisdiction pursuant to Title 40.

Establishes the presumption that no jurisdiction exists,the
Statue applies to all Lands after 1940.

Special provisions is made in the Constitution for cessation of
jurisdiction for the States,over places where Federal Government
shall establish Forts,Magazines,Dockyards,or other needful build-
ings,and it is only these places of territories of where it can
exercise general jurisdiction.

(1)
Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 21 of 30

GOUND TWO CONT...
In addition to violating 40 USC Sec.255,Article I,Sec.8,cl.17,
The Federal U.S. Corporation has not complied with Article III
of the constitution. Article III requires the parties to show
harm, injury,attributable to the petitioner before litigating
its claim in Federal Court,No such showing was ever made.
MISAPPLICATION OF STATUTORY LAW

The petitioner instant Federal conviction and sentence were pre-
dicated upon non publishing, Non positive Laws/Codes/statues,
namely ,Title 18 USC Sec.7,3231,Title 21 USC.sec.841(A) 1,846,
18 USC Sec.3553,3583,4561,Title 21 USC 852.The above mentioned
Statues/Codes/regulations (CONTRACTS) As mandated by Acts of
Congress located at and pursuant to Title 44 USC Sec .1505(A)(3):

SECTION 1505 DOCUMENTS TO BE PUBLISHED IN THE

FEDERAL REGISTER

(A) Proclamations and Executive orders ,documents having general
applicability and Legal effect,Documents required to be published
by Congress. There shall be published in the Federal Register.
(3) Documents that may be required to be published by Acts of Con-
gress.For the purpose of this chapter,every document or order
which prescribes a penalty has general applicability and Legal ef-
fect,Pursuant to 44 USC Sec.1501. .
The provision is made that,The Contents of the Federal Register
shall and should have been judically noticed,44 USC Sec.1507 and
Section 1510,Which establishes the Code of Federal Regulations,
Provides at subsection (C) That,the Codified documents in the
Code of Federal regulations of the Several Agencies published in
the Supplemental Edition-.of the Federal Register. shall be prima
facie evidence of the text of the documents and of the fact that
they are in effect on and after the Date of publication.
As stated in Section 1501(A)(!),I£ the regulations for any given
Statue are not published in the Federal Register,Application is
limited to Federal Agencies or persons acting in their capacity.

as officers, Agents or employees of Federal Agencies. Provisions
Title 44 USC Sec.1505(A) Are restated at C.F.R. Section 5,2 (A)

(B)(C).

(2)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 22 of 30

GROUND TWO CONT...
IT IS A WELL ESTABLISHED PRINCIPLE OF LAW THAT ALL FEDERAL .LEGIS-
LATION APPLIES ONLY WITHIN THE TERRITORIAL JURISDICTION OF THE
U.S. UNLESS A CONTRARY INTENT APPEARS.

In order for a contrary intent to appear, Delegations of authority
and implementing regulations must be published in the. Federal
Register and or any given Statue must clearly articulate Applica-
tion.
In examining the Parallel Table of Authorities and Rules which be-
gins on page 731 of the 1995 Index Volume Of The Code Of Federal
Regulations,its authority located at C.F.R.section 5(A).
The Table resolves the matter of territorial jurisdiction for the
U.S.DISTRICT COURT,There are no implementing regulations for Title
18 USC sec.3231,7, 3553 ,3583, 3561,Title 21 USC Sec. 841(A)(1), 846,
21 USC Sec.852.
The absence of Title 18 USC Sec.3231,7,confirms that the Special
Maritime and Territorial jurisdiction of the U.S.DISTRICT COURT
does not reach into the several States party to the Constitution
and the population at large.The Authority applies only on federal
enclaves which have been ceded to the United States for the Consti-
tutional purposes. .
There are no implementing regulations applicable to the Union of
the several States and the America People at large,For Treaties
and other International Agreements pertaining to Regulations of
Control Substances,Title 21 USC Sec.852.
The basic assertion in this case in that Titles USC Sec.841(A)(1),
846,and various other amended subsections were never meant to be
implemented throughout The (50) States of the Union United States
of America. .
Under the present day Control Substance Act of 1970, but was in
fact meant to be implemented under International Treaty ,Pursuant
to 21 USC Sec.652, International Agreements and Treaties,There are
no Implementing Regulations reaching into the States or the Pop-
ulation at large.
Title 21 USC Sec.841{A) 1,846,Are part of the Control Substance
Act via Executive Order by then President Richard Nixon.
In this instant case at bar,the above CODES are Non Positive Law,
And is required to be Published in the Federal Register if

(3)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 23 of 80

GROUND TWO CONT...
a penalty is prescribed and or when applied to the several
States pursuant to Title 1 USC Sec.204(A).
There are no criminal enforcement authorities behind any of the

above mentioned Regulations/Statues/Codes.

The above mentioned Non Publishing Regulations/Codes/Statues
had no validity over the petitioner,The U.S.DISTRICT COURT
was without subject matter jurisdiction.Further Title 21 United
States codes itself has never been passed into positive Law to
have general application in the several States per Title 1 USC
Sec.204(A) . .
The respondents the U.S. contend for the power to prosecute for
a crime or an offense outside its jurisdiction,is required to
prove an extraterritorial Application of the Statues(Above men-
tioned)in question as well as a Constitutional foundation sup-
porting same.
Absent this showing,No Federal prosecution should have begun
for offenses committed outside its jurisdiction.

IT IS WELL ESTABISHED REGARDING LEGISLATIVE JURISDICTION ’
AS FOLLOWS:
All Federal crimes are Statutory and all criminal prosedutions
in Federal Courts are based on acts of Congress,Rules of Crimi-
nal Procedures 26,taking of testimony, Notes of Advisory commit-
tee on Rules,Para.2.

. Acts of Congress includes any act of Congress locally applica-
ble to and in force in the District of Columbia, Puerto Rico,
Guam,Virgin Island in territory or insular possession, Rules of
Criminal Procedures,Rule 54(C),Application of terms.

The term U.S. as used in this Title in a territorial sense, in-
cludes all places and waters,Continental or insular possessions
subject to the jurisdiction of the U.S.,18USC Sec.5.

The term Special Maritime and Territorial Jurisdiction of the
U.S. as used in this Title includes...and out-of the Jurisdic-
tion of any particular State,18 USC Sec.?7.

THE RESPONDENTS HAS NOT ESTABLISHED ITS JURISDICTION ON THE RE-
CORD AND THE SOURCE OF ITS AUTHORITY.

(4)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 24 of 30

GROUND TWO...CONT.

THERE ARE ONLY TWO CRIMINAL JURISDICTIONS COMMON LAW
ADMIRALTY MARITIME

If the Court was operating under a Common Law jurisdiction,
which is doubtful,Then an injured party was required to be pro-
duced as evidence,without that there would have been no cause
of action.

Admiralty/Maritime jurisdiction,as the Yellow Fringe Flag In-
dicates.Production of the Original Valid International Contact
with my Signature on it,IF SUCH a Contract exist.The validity
of the International Contract must have been settled before the

trial on the issues had begun.

The Respondents proceeded in Admiralty and Maritime which is
Civil,Statutory with criminal penalties,in Rem.

The Respondents subsumed,concealed subverted the true and proper
nature of the Judicial Proceedings which were civil and blind-
sided the REAL PARTYS in interest to said proceedings without
ever allowing the Petitioners participation in said proceedings

and without ever informing the Petitioner of the true nature of
the cause of action against him.

The Respondents proceeded in the course of the Civil Law and
failed to produce all DOCUMENTS held in due course that created
a Legal disability.

Failed to inform the Petitioner of the true nature of the Judic-
ial proceedings,and the identities of the Real Party in interest,
Failed to inform Petitioner of his rights/remedys and to any
terms of the agreements made.
Admiralty/Maritime is Civil/Statutory/with criminal penalties,
The Respondents had no right to conceal the basis of its crimi-
nal proceedings,which were based.on a Givil complaint filed for
an alleged breach of a Contract/Commercial Agreement, that was
never disclosed to the Petitioner ,Respondents was duty bound to,
do so,But failed to do so,To produce the Instrument. that created
the Legal liability as a basis for its charges, and allow the

Petitioner an opportunity to contest it.
The Accuser,The U.S.Attorneys Office has made an unproven con-
clusion of Law based on an erroneous presumption,that caused to

be issued The Bill Of Pains,and penalty against the peace and

(5)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 25 of 30

GROUND TWO...CONT.
penalty. against the peace and dignity .of the undersigned party
aggrieved, without any basis in and or Law.
The party aggrieved asserts that he is entitled to full due pro-
cess of Law in all criminal actions and proceedings against hin,
means he is subject to the raw judicial power at Common Law,not
arbitrary and capricious Legislative power in equity or chancery.
The Raw judicial power at Common Law Requires a Corpus Delecti
or real damaged party who has sworn out a complaint against him
and provided the requisite indemnity bond,which is lacking in
the accusatory Instrument and in the record as brought by the
accuser,doing business as the Fictitious Party Plaintiff in a

Corporate capacity, and in a Corporate Venue,motivated by invi-

dious econimic animus, Pre-judicial to the party aggrieved.

No Court,Judicial or Legislative,has a criminal jurisdiction or
other (Commercial) Maritime lien or attachment,over the party
agegrieves person/property upon any inference not a material fact
of record.

The accuser has not established judicial power standing on the
Law side of the Court,and with clean hands placed into evidence
a Valid Contract or Franchise which gives the Court authority to
act as a Chancellor in equity,Admiralty,or where Maritime Con-
tracts are in dispute.

Moreover,it is the Plaintiffs Representatives sworn duty,of Of-
fice and Fedelity,to protect the Constitutionally Guaranteed
rights of those who assert them...

The party aggrieved is entitled to the benefit and privilege

of full and complete due process of Law where ever he may go,
That a legal fiction or CORPORATE entity is limited to a wri-
tten and fully disclosed contract of. franchise for a valid
enforcement of the manotrial extent of the franchise,and to be
able to deprive the franchisee of his liberty interests,or im-
pose any amortization to pay for any obligation or other in-
debtedness of said CORPORATION and or its undisclosed princi-
pals.

Therefore,This Court has a fiduciary duty by virtue of the
Judge or Chancellor (s) Oath of Office and fidelity,on the
Common Law side of this Court,to assume a neutral stance at

law and require the accuser,doing business as a FICTITIOUS

fa aa

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 26 of 30

CORPORATE PLAINTIFF to produce a Contract of Franchise or other
material fact to substantiate that it may enjoy the right to
recovery set forth in the charge,and to establish this penal or
criminal jurisdiction over the party aggrieved,to be a fact. at
law.

To prevent further damnification and a manifest injustice to be
foisted upon the party aggrieved,because the accuser has passed
off in delictual fault,said accusatory intrument to a Corporate
Legislative Tribunal sitting as Chancellor in Equity and as a
Judge in Common Law Crimes,To compel issuance of the Bill of
Pains and Penalties under Color of said Statues and office,with-
out so much as a Scintilla of evidentiary or other ‘substantial

proof.

Counsel,misrepresentation of law and or Legal rights was a clear
violation of petitioner 5th and 6th Amendment Rights. Counsel

with aid of Prosecutor and THUS that of Judge possessed superior
knowledge of Law.Thus,Counsel aided and abet ting Prosecutor took
advantage of petitioner ignorance in that respect and intentionally

makes misrepresentation concerning the law for purposes of deceiving
the petitioner.But that (fraud) was the perversion of Truth. .”

(@)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 27 of 30

GROUND TWO...CONT.

The United States a/k/a"UNITED STATES OF AMERICA" had no stand-
ing to charge petitioner with a statue that is non~POSITIVE LAW.
Title 21 is,not among the titles of the United States Codes,
which have been enacted into “POSITIVE LAW"according to House
of Representatives Law Library.And § 841 has no implementing
CFR Regulations.
Title 21 U.S.C.has been used falsely to convict petition-
er and misapplied by U.S.Attorneys.
The basic assertion in this case is that the U.S.District Court
of indictment was without subject matter jurisdiction because
the indictment was drawn under a. statute 21 USC § 841(a)(1)
that is unconstitutional on its face.Further,Title 21 USC itself
has NEVER been passed into"Positive Law'which explains why it
is missing from the Table of listings of United States Code
1 through 50 deemed -by Congress as “POSITIVE LAW CODES". Thus,
the statutes were misapplied as it relates to this case at bar.
To begin with,21 USC §841(a)(1) is on its face unconstitutional
because Congress was without constitutional authority to enact
the statute's proscription.
In relevant part,§$841(a)(1)states:
“Except as authorized by this subchapter,it shall be
unlawful for any person knowingly,or intentionally(1)
to manufacture, distrbute »dispense or possess with in-

tent to manufacture ,distribute,distribute,dispense,a -

controlled -sybstancess."21U.S.Cs§ 841 (A)(1).

(8)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 28 of 30

In order to properly reach the claim that Congress was without
constitutional authority to enact the proscriptions or §841{(a)
(1),it is necessary to start with the proposition that if

there is no delegation of power to be found in the Constitution,
upon which Congress could have relied in enacting the proscrip-
tion of §841(a)(1),or if the Constitution does provide such
authority,but that authority is improperly or impermissibly,
used,then the legislation is vulnerable to attack as unconsti-
tutional,or as it is applied in the several States.

Every statute enacted by Congress must be authorized by Conat#ss
tution. (case Law not encerted) must now. be placed under close
observation and subjected to detailed analysis to find the
source in the Constitution form which the authority of Congress
to enact its prescription was derived.

Title 21 USC §§§ 841,846,848 are part of the "“Controlled Sub-

stance Act" which did not originate in the House of Represent-

atives but through Executive Order of former President Richard
M.Nixon. In the instant case at bar it has been misapplied,
and administered inland upon the Relator/Petitioner,under
Admiralty/Maritime/contract jurisdiction via the International
Law of the Flag(by an uninformed"verbal plea contract" of not
guilty upon arraignment),and private United States Code Laws.
Title 21 USC § 801-904 are federal regulations governed by
“Title 21 Code of Federal Regulations promulgated and adminis-
trated by the Attorney General and his agents and employees”
who transfer non-federal sovereign State prisenérs and dockets
numbers by contract enjoined with the sovereign State's elect-

ed Secretary from State court jurisdictions(county jails/

(9)
Case No. 1:01-cr-00214-RM Document 3388 filed 09/22/06 USDC Colorado pg 29 of 30

sheriff/police depts.),and unlawfully arraigned them by U.S.
Magistrates formerly a/k/a/(U.S.National Park Commissioners)
in U:S.District Courts where an untold number of drug related
cases are issued unofficial federal docket numbers without
motion from the "prisoner/defendant"as required under Title
28 USC §§1441-1446.
Petitioner was,not indicted lawfully by a regulatory properly
covened Grand jury for the offense prior to misrepresentation
by the prosecutor for alleged crimes against the United States,
nor violations of laws enacted by Congress.Petitioner was in-
dicted by a U.S.Asst.Attorney and technically,"is custody of

- the Attorney General" for alleged violation of federal statutory

and regulatory laws that were never meant to be used on

"Street dealers"a/k/a or non-license professional and a carry

a sentence of more than one year imprisonment.

The prosecutorial team committed fraud upon the court by bring-
ing an original criminal cause from State court,and informing
the federal court that it has jurisdiction in the instant
criminal cause,then they knew all should have known that there-
after service of Petitioner's Administrative Notice,no-such
jurisdiction absent CFR regulations existed to be granted to
the U.S.District Court.

Title 18 USC§ 3231 does not grant criminal jurisdiction

to district courts. It merely excludes State court from having

original jurisdiction of offenses against although the United
States.

Title 18,the United States Code of Criminal Procedure,

(10)

Case No. 1:01-cr-00214-RM Document 3388 _ filed 09/22/06 USDC Colorado pg 30 of 30

lists only. offenses against the United States,not the" United
States of America",
18 USC §3231:
§ 3231.District Courts
The district courts of the United States shall have ori-
ginal jurisdiction,exclusive of the courts of the States,of

all offenses against the laws of the United States.

Nothing in this title shall be held to take away or
impair the jurisdiction of the courts of the several

States under the laws thereof.

No Waiver Or Frocedural Hurdle Exists

Petitioner's claims are jurisdictional in nature they can be raised

at any time.No procedural hurdle exists if a court has no jurisdic-
tion over Petitioner.Lack of Article III jurisdiction cannot be
waived and cannot be conferred upon a federal district court by con-
sent,by action, or by stipulation.California v.LaRue,400 U.S.109,112,
34 L.Ed.342,93 S.Ct.390(1972).The validity of an order on sentencing
of a federal district court depends upon that court having jurisdic-
tion over both the subject matter and the defendant.Stoll v.Gottlieb, |
305 U.s.171-172,83 L.Ed 104,59 S.Ct.134(1938).

Plain error exists in this case

. Petitioner has satisfied the plain error standard, plain error exists
in this case because the defendant was charged with and. convicted of
drug offenses involving an unspecified amount of drugs §$841(b)(1)(C),
but was sentenced above the statutory maximum(the maximum applicable
under §841 (b)(1)(A)or(B).United States v.Johnson,4F.3d 904,918 (10th
Cir.1993).

(11)
